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           In the United States Court of Federal Claims
                                            No. 18-1784C
                                     (Filed: September 3, 2019)

                                               )
 ROBERT J. LABONTE, JR.,                       )
                                               )
                       Plaintiff               )
                                               )
 v.                                            )
                                               )
 UNITED STATES,                                )
                                               )
                        Defendant.             )
                                               )
                                               )

                                             ORDER


       This case is hereby set for a telephonic status conference at 9:00 a.m. EST on September 12,
2019. The Court will initiate the call.

       It is so ORDERED.


                                                                  s/ Richard A. Hertling
                                                                  Richard A. Hertling
                                                                  Judge
